                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IRON WORKERS' MID-AMERICA                    )
PENSION PLAN, et al.,                        )
                                             )
                      Plaintiffs,            )       CIVIL ACTION
                                             )
       vs.                                   )       NO. 07 C 5169
                                             )
RYDER STEEL CONSTRUCTION,                    )       JUDGE WAYNE R. ANDERSEN
                                             )
JAMES F. KOCH, d/b/a RYDER STEEL             )
CONSTRUCTION,                                )
                                             )
MELISSA KOCH, d/b/a RYDER STEEL              )
CONSTRUCTION,                                )
                                             )
                      Defendants.            )



                 MOTION FOR ENTRY OF DEFAULT AND JUDGMENT

       NOW COME Plaintiffs, by their attorneys, and move for entry of judgment by default

against Defendants, RYDER STEEL CONSTRUCTION, JAMES F. KOCH, d/b/a RYDER STEEL

CONSTRUCTION, and MELISSA KOCH, d/b/a RYDER STEEL CONSTRUCTION, in the total

amount of $2,299.07, plus Plaintiffs' court costs and reasonable attorneys' fees in the amount of

$2,070.50.

       On September 15, 2007, the Summons and Complaint was served on the Defendant, Ryder

Steel Construction (by tendering a copy of said documents to Melissa Koch) at her place of business

(a copy of the Summons and Affidavit of Service is attached hereto). Therefore, Defendant’s answer

was due on October 8, 2007.

       On September 15, 2007, the Summons and Complaint was served on the Defendant, James

F. Koch, d/b/a Ryder Steel Construction (by tendering a copy of said documents to Melissa Koch)
at his place of business (a copy of the Summons and Affidavit of Service is attached hereto).

Therefore, Defendant’s answer was due on October 8, 2007.

           On September 15, 2007, the Summons and Complaint was served on the Defendant, Melissa

Koch, d/b/a Ryder Steel Construction, by tendering a copy of said documents to her personally at

her place of business (a copy of the Summons and Affidavit of Service is attached hereto).

Therefore, Defendant’s answer was due on October 8, 2007.

           As Defendants have failed to timely answer the Complaint, Plaintiffs respectfully request

entry of default and judgment.



                                                                 /s/ Patrick N. Ryan




Patrick N. Ryan
Attorney for Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6278364
Telephone: (312) 236-4316
Facsimile: (312) 236-0241
E-Mail: pryan@baumsigman.com
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                                                   CERTIFICATE OF SERVICE

       The undersigned, an attorney of record, hereby certifies that he electronically filed the
foregoing document (Motion for Entry of Default and Judgment) with the Clerk of Court using the
CM/ECF system, and further certifies that I have mailed the above-referenced document by United
States Mail to the following non-CM/ECF participants on or before the hour of 5:00 p.m. this 21st
day of November 2007:

                                   Ryder Steel Construction
                                   103 N. 4th Street
                                   Watseka, IL 60970

                                   James F. Koch, d/b/a Ryder Steel Construction
                                   103 N. 4th Street
                                   Watseka, IL 60970

                                   Melissa Koch, d/b/a Ryder Steel Construction
                                   103 N. 4th Street
                                   Watseka, IL 60970




                                                                 /s/ Patrick N. Ryan



Patrick N. Ryan
Attorney for Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6278364
Telephone: (312) 236-4316
Facsimile: (312) 236-0241
E-Mail: pryan@baumsigman.com
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